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                            UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No. 1:16-cr-00215-BLW
               Plaintiff,
                                                   NOTICE OF CHANGE OF ADDRESS
        vs.

 CHRISTOPHER BOHNENKAMP,

               Defendant.


       Effective February 24, 2020, the mailing address for the undersigned will change to:

                                  United States Attorney’s Office
                                 1290 West Myrtle Street, Suite 500
                                         Boise, ID 83702

The phone number and e-mail address will not change.

       Respectfully submitted this 20th day of February, 2020.

                                                     BART M. DAVIS
                                                     UNITED STATES ATTORNEY
                                                     By:

                                                     /s/___________________________
                                                     WILLIAM M. HUMPHRIES
                                                     Assistant United States Attorney

NOTICE OF CHANGE OF ADDRESS - 1
